       Case: 1:24-cv-01223 Document #: 40 Filed: 08/20/24 Page 1 of 2 PageID #:1226




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


  ALBERT KOETSIER,

          Plaintiff,                                        Case No.: 1:24-cv-01223

  v.                                                        Judge Thomas M. Durkin

  THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge M. David Weisman
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.



                               SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on April 11, 2024 [34] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
                97                                    Nagai-us
               112                                   UBEDOCR


         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
   Case: 1:24-cv-01223 Document #: 40 Filed: 08/20/24 Page 2 of 2 PageID #:1227




DATED: August 19, 2024                                 Respectfully submitted,



                                                       Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                       Chicago, Illinois 60604
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                                                       E-mail: keith@vogtip.com

                                                       ATTORNEY FOR PLAINTIFF(S)




                                                         19 of
Subscribed and sworn before me by Keith A. Vogt, on this _

August, 2024. Given under by hand and notarial seal.




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                                               COUNTY OF --=-----------


                                                                GRISELDA DELGADO
                                                                  OFFICIAL SEAL
                                                   • N.otary Public, State of Illinois
                                                               My Commission Expires
                                                                  October 05, 2026
